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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

THE AMERICAN CIVIL LIBERTIES        :
UNION OF FLORIDA, INC., et al.,     :
                                    :
     Plaintiﬀs,                     :
                                    :
v.                                  : Case No. 4:21-CV-190-AW-MJF
                                    :
FLORIDA ELECTIONS COMMISSION, :
                                    :
     Defendant.                     :
___________________________________ :

  JOINT MOTION FOR EXTENSION OF TIME TO FILE MOTION TO
                 DETERMINE FEE AMOUNT

      De Parties respectfully move for a six-week extension of time, to November

17, 2022, to ﬁle a motion to determine the amount of a fee award. De Parties state:

   1. De Court granted Plaintiﬀs’ Motion for Entitlement to Attorney’s Fees on

      August 4, 2022. ECF No. 84.

   2. Per the Court’s Order of August 29, 2022 (ECF No. 89), Plaintiﬀs must ﬁle a

      motion to determine the fee amount by October 6, 2022.

   3. To allow more time for the Parties to engage in settlement discussions

      regarding the amount of a fee award, the Parties respectfully request an

      additional six weeks to ﬁle their motion to determine the fee amount.

   4. Dis motion is ﬁled in good faith and not solely for purpose of delay.

WHEREFORE, the Parties respectfully request this Court grant a six-week

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extension to ﬁle a motion to determine the amount of a fee award


      Respectfully submitted this 29th day of September, 2022,

/s/ Nicholas Warren                         /s/ George N. Meros, Jr.

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